                                                                               Case 2:14-bk-58300                      Doc 1
                                                                                                                          Filed 11/26/14 Entered 11/26/14 14:37:22 Desc Main
                                                                     B1 (Official Form 1) (04/13)                         Document      Page 1 of 79
                                                                                                           United States Bankruptcy Court
                                                                                                              Southern District of Ohio                          Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Jackson, James Eldridge Sr.                                                             Jackson, Regina
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                                                                                                              Regina Tate


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     3748                                                 (if more than one, state all):     9039
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      2833 Osceola Avenue                                                                     2833 Osceola Avenue
                                                                      Columbus, OH                                                                            Columbus, OH
                                                                                                                            ZIPCODE 43211-1139                                                                       ZIPCODE 43211-1139
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Franklin                                                                                Franklin
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case 2:14-bk-58300              Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                      Desc Main
                                                                     B1 (Official Form 1) (04/13)                              Document     Page 2 of 79                                                                    Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Jackson, James Eldridge Sr. & Jackson, Regina

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                        Case Number:                                             Date Filed:
                                                                      Where Filed:Southern District Of Ohio, Eastern Division (Chapter09-57713
                                                                                                                                       13                                                      07/09/2009
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                     X   /s/ Mark Albert Herder                                       11/26/14
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                 Case 2:14-bk-58300                      Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                                              Desc Main
                                                                     B1 (Official Form 1) (04/13)                                    Document     Page 3 of 79                                                                                      Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Jackson, James Eldridge Sr. & Jackson, Regina

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ James E Jackson, Sr.                                                               Signature of Foreign Representative
                                                                          Signature of Debtor                                 James E Jackson, Sr.
                                                                      X   /s/ Regina Jackson                                                                     Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                               Regina Jackson
                                                                          (614) 378-4218                                                                         Date
                                                                          Telephone Number (If not represented by attorney)
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          November 26, 2014
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Mark Albert Herder                                                            preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Mark Albert Herder 0061503                                                        110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Mark Albert Herder                                                                pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          901 South High Street                                                             chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Columbus, OH 43205-0000                                                           notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                                                                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          November 26, 2014
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                               Case 2:14-bk-58300               Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                     Desc Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)                Document     Page 4 of 79
                                                                                                                        United States Bankruptcy Court
                                                                                                                           Southern District of Ohio

                                                                     IN RE:                                                                                           Case No.
                                                                     Jackson, James Eldridge Sr.                                                                      Chapter 13
                                                                                                                 Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ James E Jackson, Sr.
                                                                     Date: November 26, 2014
Case 2:14-bk-58300   Doc 1   Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document     Page 5 of 79
                                                                               Case 2:14-bk-58300               Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                     Desc Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)                Document     Page 6 of 79
                                                                                                                        United States Bankruptcy Court
                                                                                                                           Southern District of Ohio

                                                                     IN RE:                                                                                           Case No.
                                                                     Jackson, Regina                                                                                  Chapter 13
                                                                                                                 Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Regina Jackson
                                                                     Date: November 26, 2014
Case 2:14-bk-58300   Doc 1   Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document     Page 7 of 79
                                                                                 Case 2:14-bk-58300                           Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                    Desc Main
                                                                                                                                              Document     Page 8 of 79
                                                                                                                                           United States Bankruptcy Court
                                                                                                                                              Southern District of Ohio

                                                                     IN RE:                                                                                                                                  Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                                                                           Chapter 13
                                                                                                                                  Debtor(s)

                                                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                                                   AND APPLICATION FOR ALLOWANCE OF FEES IN CHAPTER 13 CASE
                                                                     I. Disclosure

                                                                     1. Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
                                                                        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                        rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

                                                                          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   3,500.00

                                                                          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                         90.00

                                                                          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $     3,410.00

                                                                     2. The source of the compensation paid to me was:                                  Debtor            Other (specify):
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     3. The source of compensation to be paid to me is:                                 Debtor            Other (specify):


                                                                     4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
                                                                               law firm.

                                                                               I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law
                                                                               firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                     II. Application

                                                                     5. I hereby apply for an allowance of fees in the amount set forth above. I understand and agree that the Court may approve, without
                                                                        itemization, an allowance of fees not to exceed $3,500, for rendering the legal services set forth below. If I seek payment of fees in
                                                                        excess of $3,500, I will file a separate application that sets forth the total amount of the fee requested, and that includes an itemization
                                                                        of all legal services performed, the hourly rate at which the services were performed, and the actual time spent by the case attorney,
                                                                        any other attorney, paralegal or professional person for whom fees are sought. Any request for reimbursement of expenses shall include
                                                                        an itemization of the expenses.

                                                                          a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether, and under what chapter,
                                                                             to file a petition in bankruptcy;
                                                                          b. Preparation and filing of any petition, schedules, statements of affairs and amendments thereto that may be required;
                                                                          c. Preparation and filing of chapter 13 plan, and any pre-confirmation amendments thereto that may be required;
                                                                          d. Preparation and filing of payroll orders and amended payroll orders;
                                                                          e. Representation of the debtor at the meeting of creditors and confirmation hearing; and any continued hearings thereof;
                                                                          f. Filing of address changes;
                                                                          g. Routine phone calls and questions;
                                                                          h. Review of claims;
                                                                          i. Review of notice of intention to pay claims;
                                                                          j. Preparation and filing of objections to non-real estate and non-tax claims;
                                                                          k Preparation and filing of first motion to suspend or reduce payments;
                                                                          l. Preparation and filing of debtor’s certification regarding issuance of discharge order; and
                                                                          m. Any other duty as required by local decision or policy.
                                                                             Case 2:14-bk-58300             Doc 1     Filed 11/26/14 Entered 11/26/14 14:37:22              Desc Main
                                                                                                                      Document     Page 9 of 79
                                                                     6. By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                  November 26, 2014                    /s/ Mark Albert Herder
                                                                                          Date                         Mark Albert Herder 0061503
                                                                                                                       Mark Albert Herder
                                                                                                                       901 South High Street
                                                                                                                       Columbus, OH 43205-0000
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                              Case
                                                                     B201B (Form 201B) 2:14-bk-58300
                                                                                       (12/09)                Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                         Desc Main
                                                                                                                        Document      Page 10 of 79
                                                                                                                       United States Bankruptcy Court
                                                                                                                          Southern District of Ohio

                                                                     IN RE:                                                                                           Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                                    Chapter 13
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                     Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                     the Social Security number of the officer,
                                                                                                                                                                     principal, responsible person, or partner of
                                                                                                                                                                     the bankruptcy petition preparer.)
                                                                                                                                                                     (Required by 11 U.S.C. § 110.)
                                                                     X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                          X /s/ James E Jackson, Sr.                                 11/26/2014
                                                                     Printed Name(s) of Debtor(s)                                              Signature of Debtor                                            Date


                                                                     Case No. (if known)                                                    X /s/ Regina Jackson                                       11/26/2014
                                                                                                                                               Signature of Joint Debtor (if any)                             Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
                                                                             Case 2:14-bk-58300           Doc 1     Filed 11/26/14 Entered 11/26/14 14:37:22                   Desc Main
                                                                                                                   Document      Page 11 of 79
                                                                     FB 201A (Form 201A) (06/14)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                   NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                            OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                               Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                               Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                               Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                              Case 2:14-bk-58300            Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22                   Desc Main
                                                                                                                    Document      Page 12 of 79
                                                                     Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $75 administrative fee: Total fee $310)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                              Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                              Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                             Case
                                                                     B6 Summary       2:14-bk-58300
                                                                                (Official                       Doc
                                                                                          Form 6 - Summary) (12/13)            1     Filed 11/26/14 Entered 11/26/14 14:37:22                                      Desc Main
                                                                                                                                    Document      Page 13 of 79
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                      Southern District of Ohio

                                                                     IN RE:                                                                                                                Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                                                         Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                    SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                   ATTACHED           NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                    (YES/NO)          SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $           35,000.00



                                                                      B - Personal Property                                           Yes                          3 $            8,990.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      D - Creditors Holding Secured Claims                            Yes                          5                            $         65,498.94


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          3                            $          7,500.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        13                             $         39,841.67
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           3,141.83
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          3                                                     $           2,541.83
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      33 $            43,990.00 $            112,840.61
                                                                             Case
                                                                     B 6 Summary       2:14-bk-58300
                                                                                 (Official                      Doc
                                                                                           Form 6 - Summary) (12/13)   1    Filed 11/26/14 Entered 11/26/14 14:37:22                Desc Main
                                                                                                                           Document      Page 14 of 79
                                                                                                                           United States Bankruptcy Court
                                                                                                                              Southern District of Ohio

                                                                     IN RE:                                                                                       Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                                Chapter 13
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $      7,500.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $      7,500.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $      3,141.83

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $      2,541.83

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $      1,999.83


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    16,087.94

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      7,500.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $    39,841.67

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    55,929.61
                                                                               Case
                                                                     B6A (Official Form 2:14-bk-58300
                                                                                        6A) (12/07)                     Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 15 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                     Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Real estate located at 2833 Osceola Avenue, Columbus, Ohio --                                                             W                              35,000.00                   58,911.00
                                                                     Residence of the debtors
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                      TOTAL                                   35,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                               Case
                                                                     B6B (Official      2:14-bk-58300
                                                                                   Form 6B) (12/07)                    Doc 1         Filed 11/26/14 Entered 11/26/14 14:37:22                                        Desc Main
                                                                                                                                    Document      Page 16 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                    Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on hand                                                                                  J                                 50.00
                                                                        2. Checking, savings or other financial            Savings account with Universal One Credit Union                                              H                                   5.00
                                                                           accounts, certificates of deposit or            Savings account with Universal One Credit Union                                               J                                 25.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods                                                                               J                             1,050.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                      J                               500.00
                                                                        7. Furs and jewelry.                               Misc. items of costume jewelry                                                              W                                   50.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated              100% Owner of Regina's Boutique --no employees --only assets                                W                                    0.00
                                                                          and unincorporated businesses.                   are the tools listed in Sch. B
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                               Case
                                                                     B6B (Official      2:14-bk-58300
                                                                                   Form 6B) (12/07) - Cont.          Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                   Desc Main
                                                                                                                                Document      Page 17 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                         Case No.
                                                                                                                            Debtor(s)                                                                        (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                     N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                               PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                 DEDUCTING ANY
                                                                                                                     E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION




                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1992 Oshkosh Southwind Motorhome (doe not run) -- Approx.            W                               1,000.00
                                                                          other vehicles and accessories.                90,000 miles
                                                                                                                         1994 Ford Cutaway Van E35 -- Approx. 260,000 miles                   W                                 500.00
                                                                                                                         1998 Volvo C70 -- Approx. 139,000 miles                              W                                 810.00
                                                                                                                         2000 Volkswagen Jetta -- Acquired on 01/13/2000-- intent to          W                               1,500.00
                                                                                                                         surrender
                                                                                                                         2002 Freightliner truck (does not run) -- approximately 155,000      W                                 500.00
                                                                                                                         miles
                                                                                                                         2002 Freightliner truck (does not run) -- approximately 185,000      W                                 500.00
                                                                                                                         miles
                                                                                                                         2004 GMC Envoy -- approximately 204,000 miles                        W                               1,500.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                               Case
                                                                     B6B (Official      2:14-bk-58300
                                                                                   Form 6B) (12/07) - Cont.     Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                           Desc Main
                                                                                                                           Document      Page 18 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                   Case No.
                                                                                                                       Debtor(s)                                                                                 (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                        PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                          DEDUCTING ANY
                                                                                                                E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                      28. Office equipment, furnishings, and    X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and       Misc. Items for operation of business: Two (2) sewing machines, W                                             1,000.00
                                                                          supplies used in business.                One (1) fabric serger machine, One (1) cash register, One (1)
                                                                                                                    fabric press, One (1) fabric steamer, Misc. items of fabric,
                                                                                                                    thread, ribbons, One (1) security camera
                                                                      30. Inventory.                            X
                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.




                                                                                                                                                                                          TOTAL                                   8,990.00
                                                                                                                                                                     (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                               Case
                                                                     B6C (Official Form 2:14-bk-58300
                                                                                        6C) (04/13)                    Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                 Desc Main
                                                                                                                                   Document      Page 19 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                              Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Real estate located at 2833 Osceola                          R.C. § 2329.66(A)(1a)(b)                                         132,900.00                  35,000.00
                                                                     Avenue, Columbus, Ohio -- Residence of
                                                                     the debtors
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 R.C. § 2329.66(A)(3)                                                    50.00                     50.00
                                                                     Savings account with Universal One Credit R.C. § 2329.66(A)(3)                                                                        5.00                      5.00
                                                                     Union
                                                                     Savings account with Universal One Credit R.C. § 2329.66(A)(3)                                                                       25.00                     25.00
                                                                     Union
                                                                     Household goods                                              R.C. § 2329.66(A)(4)(a)                                             1,050.00                  1,050.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Clothing                                                     R.C. § 2329.66(A)(4)(a)                                               500.00                     500.00
                                                                     Misc. items of costume jewelry                               R.C. § 2329.66(A)(4)(b)                                                 50.00                     50.00
                                                                     1992 Oshkosh Southwind Motorhome (doe R.C. § 2329.66(A)(2)                                                                       3,675.00                  1,000.00
                                                                     not run) -- Approx. 90,000 miles
                                                                     1998 Volvo C70 -- Approx. 139,000 miles                      R.C. § 2329.66(A)(18)                                                 225.00                     810.00
                                                                     Misc. Items for operation of business: Two R.C. § 2329.66(A)(5)                                                                  1,000.00                  1,000.00
                                                                     (2) sewing machines, One (1) fabric serger
                                                                     machine, One (1) cash register, One (1)
                                                                     fabric press, One (1) fabric steamer, Misc.
                                                                     items of fabric, thread, ribbons, One (1)
                                                                     security camera




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                               Case
                                                                     B6D (Official Form 2:14-bk-58300
                                                                                        6D) (12/07)                     Doc 1                     Filed 11/26/14 Entered 11/26/14 14:37:22                                                                              Desc Main
                                                                                                                                                 Document      Page 20 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                         Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.                                                                J Vehicle lien on 2000 Volkswagon Jetta --                                                                            6,587.94                 5,087.94
                                                                     Cabrera Auto Sales                                                           acquired on 01/13/2000 --Intent to
                                                                     3530 Sullivant Avenue                                                        surrender
                                                                     Columbus, OH 43204

                                                                                                                                                                   VALUE $ 1,500.00

                                                                     ACCOUNT NO.                                                                J Delinquent Real Estate Taxes                                                                                        8,000.00
                                                                     Franklin County Treasurer
                                                                     Attn Kate Sewickley
                                                                     373 South High Street, 17th Floor
                                                                     Columbus, OH 43215-6306
                                                                                                                                                                   VALUE $ 35,000.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Franklin County Treasurer                                                                     Franklin County Treasurer
                                                                     P.O. Box 742538
                                                                     Cincinnati, OH 45274-2538

                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Mary E. Johnson                                                                               Franklin County Treasurer
                                                                     Rep For Franklin County Treasurer
                                                                     373 S. High Street, 17th Floor
                                                                     Columbus, OH 43215
                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            4 continuation sheets attached                                                                                                  (Total of this page) $                                  14,587.94 $                5,087.94
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                               Case
                                                                     B6D (Official Form 2:14-bk-58300
                                                                                        6D) (12/07) - Cont.           Doc 1                     Filed 11/26/14 Entered 11/26/14 14:37:22                                                                                  Desc Main
                                                                                                                                               Document      Page 21 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                          Case No.
                                                                                                                               Debtor(s)                                                                                                                                          (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                                                                                                                                                   AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                     DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                           CLAIM WITHOUT
                                                                                                                                                                                                                                                                                           UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                  DEDUCTING
                                                                                                                                                                                                                                                                                         PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                             VALUE OF
                                                                                                                                                                                                                                                                  COLLATERAL




                                                                     ACCOUNT NO.                                                            C                    Judicial lien on real estate located at 2833 Osceola                                                   1,105.00
                                                                                                                                                                 Avenue, Columbus, Ohio --Judgment - 2005 CVF
                                                                     MRC Receivables Corp                                                                        014635 --Franklin County Municipal Court --
                                                                     5775 Roscoe Court                                                                           Certificate of Judgment --06 JG 003305 --Franklin
                                                                                                                                                                 County Common Pleas Court --Judicial lien shall be
                                                                     San Diego, CA 92123-1356                                                                    avoided and treated as a general unsecured debt



                                                                     ACCOUNT NO.                                                                                 based upon the appraised value of the real estate --A
                                                                                                                                                                 motion to accomplish the avoidance of the judicial
                                                                                                                                                                 lien shall be filed prior to discharge
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                 VALUE $        35,000.00
                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Javitch, Block & Rathbone                                                                   MRC Receivables Corp
                                                                     Rep For MRC Receivables Corp
                                                                     1100 Superior Avenue, 19th Floor
                                                                     Cleveland, OH 44114
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Javitch, Block & Rathbone                                                                   MRC Receivables Corp
                                                                     Rep For MRC Receivables Corp
                                                                     140 East Town Street - Suite 1250
                                                                     Columbus, OH 43215
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     MRC Receivables Corp                                                                        MRC Receivables Corp
                                                                     50 W Broad Street, Suite 1800
                                                                     Columbus, OH 43215

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                              J                  Judicial lien on real estate located at 2833 Osceola                                                   3,806.00
                                                                                                                                                                 Avenue, Columbus, Ohio--Judgment --2002 CVF
                                                                     Rader Car Company                                                                           001701 --Franklin County Municipal Court--Certificate
                                                                     3115 Cleveland Ave.                                                                         of Judgment --03 JG 002569 --Franklin County
                                                                                                                                                                 Common Pleas Court --Judicial lien shall be avoided
                                                                     Columbus, OH 43224                                                                          and treated as a general unsecured debt based upon



                                                                     Sheet no.       1 of        4 continuation sheets attached to                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                            (Total of this page) $                                     1,105.00 $
                                                                                                                                                                                                                           Total
                                                                                                                                                                                                         (Use only on last page) $                                                      $
                                                                                                                                                                                                                                                                (Report also on         (If applicable, report
                                                                                                                                                                                                                                                                Summary of              also on Statistical
                                                                                                                                                                                                                                                                Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                                                                                                                        Data.)
                                                                               Case
                                                                     B6D (Official Form 2:14-bk-58300
                                                                                        6D) (12/07) - Cont.           Doc 1                     Filed 11/26/14 Entered 11/26/14 14:37:22                                                                                      Desc Main
                                                                                                                                               Document      Page 22 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                                Case No.
                                                                                                                               Debtor(s)                                                                                                                                              (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                                                                                                       AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                         DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                               CLAIM WITHOUT
                                                                                                                                                                                                                                                                                               UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                      DEDUCTING
                                                                                                                                                                                                                                                                                             PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                                 VALUE OF
                                                                                                                                                                                                                                                                      COLLATERAL




                                                                     ACCOUNT NO.                                                                                 the appraised value of the real estate --A motion to
                                                                                                                                                                 accomplish the avoidance of the judicial lien shall be
                                                                                                                                                                 filed prior to discharge




                                                                                                                                                                 VALUE $          35,000.00
                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Dana & Pariser                                                                              Rader Car Company
                                                                     Rep For Rader Car Company
                                                                     495 E Mound Street
                                                                     Columbus, OH 43215
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Robert Mann                                                                                 Rader Car Company
                                                                     Rep For Rader Car Company
                                                                     800 E Braod Street
                                                                     Columbus, OH 43205
                                                                                                                                                                 VALUE $
                                                                                                                                              J                  Mortgage on real estate located at 2833 Osceola Avenue,                                                  46,000.00                11,000.00
                                                                     ACCOUNT NO.                                                                                 Columbus, Ohio -- Residence of the debtors -- Payment is
                                                                                                                                                                 $465.00 per month -- Payment does not include real estate
                                                                     Real Time Resolutions                                                                       taxes or homeowner's insurance -- approx. arrearage of
                                                                     P.O. Box 35888                                                                              $13,000.00
                                                                     Dallas, TX 75235-1655

                                                                                                                                                                 VALUE $ 35,000.00

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Jennifer Franks                                                                             Real Time Resolutions
                                                                     Rep For US Bank/Real Time Resolutions
                                                                     1500 W Third Street, Suite 400
                                                                     Cleveland, OH 44113
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Laurito & Laurito                                                                           Real Time Resolutions
                                                                     Rep For Lehman Brother Holding/Real Time
                                                                     7550 Paragon Rd
                                                                     Dayton, OH 45459
                                                                                                                                                                 VALUE $
                                                                     Sheet no.       2 of        4 continuation sheets attached to                                                                                            Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                                 (Total of this page) $                                  49,806.00 $              11,000.00
                                                                                                                                                                                                                               Total
                                                                                                                                                                                                             (Use only on last page) $                                                      $
                                                                                                                                                                                                                                                                    (Report also on         (If applicable, report
                                                                                                                                                                                                                                                                    Summary of              also on Statistical
                                                                                                                                                                                                                                                                    Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                            Liabilities and Related
                                                                                                                                                                                                                                                                                            Data.)
                                                                               Case
                                                                     B6D (Official Form 2:14-bk-58300
                                                                                        6D) (12/07) - Cont.           Doc 1                     Filed 11/26/14 Entered 11/26/14 14:37:22                                                                              Desc Main
                                                                                                                                               Document      Page 23 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                       Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Lehman Brothers Holdings Inc                                                                Real Time Resolutions
                                                                     C/O Ocwen Loan Servicing
                                                                     1661 Worthington Road, #100
                                                                     West Palm Beach, FL 33409
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Real Time Resolutions                                                                       Real Time Resolutions
                                                                     P.O. Box 731940
                                                                     Dallas, TX 75373
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Real Time Resolutions                                                                       Real Time Resolutions
                                                                     Dept. 107565
                                                                     PO Box 1259
                                                                     Oaks, TX 19456
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Real Time Resolutions                                                                       Real Time Resolutions
                                                                     1349 Empire Central Drive, Suite 150
                                                                     Dallas, TX 75247

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Reimer Arnovitz Chernek & Jeffrey                                                           Real Time Resolutions
                                                                     Rep For US Bank
                                                                     30455 Solon Road
                                                                     Solon, OH 44139
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     US Bank                                                                                     Real Time Resolutions
                                                                     Rep. Real Time Resolutions
                                                                     PO Box 790408
                                                                     St. Louis, MO 63179
                                                                                                                                                                 VALUE $
                                                                     Sheet no.       3 of        4 continuation sheets attached to                                                                                    Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                         (Total of this page) $                                                    $
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                               Case
                                                                     B6D (Official Form 2:14-bk-58300
                                                                                        6D) (12/07) - Cont.           Doc 1                     Filed 11/26/14 Entered 11/26/14 14:37:22                                                                              Desc Main
                                                                                                                                               Document      Page 24 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                       Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     US Bank                                                                                     Real Time Resolutions
                                                                     Rep. For Real Time Resolutions
                                                                     PO Box 5220
                                                                     Cincinnati, OH 45201
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     US Bank                                                                                     Real Time Resolutions
                                                                     Rep. For Real Time Resolutions
                                                                     PO Box 108
                                                                     Saint Paul, MN 63166
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       4 of        4 continuation sheets attached to                                                                                    Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                         (Total of this page) $                                                    $
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                   65,498.94 $              16,087.94
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                               Case
                                                                     B6E (Official      2:14-bk-58300
                                                                                   Form 6E) (04/13)                      Doc 1         Filed 11/26/14 Entered 11/26/14 14:37:22                                          Desc Main
                                                                                                                                      Document      Page 25 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                       Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            2 continuation sheets attached
                                                                               Case
                                                                     B6E (Official      2:14-bk-58300
                                                                                   Form 6E) (04/13) - Cont.           Doc 1                                   Filed 11/26/14 Entered 11/26/14 14:37:22                                                                           Desc Main
                                                                                                                                                             Document      Page 26 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                                                                     Case No.
                                                                                                                                                    Debtor(s)                                                                                                                       (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                                 (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                                                                                                                                                 AMOUNT




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                                                                                                                                                                              AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                   AMOUNT
                                                                                                                                                                   DATE CLAIM WAS INCURRED                                                                                    ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                  OF
                                                                                                                                                                 AND CONSIDERATION FOR CLAIM                                                                                     TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                   CLAIM
                                                                                                                                                                                                                                                                              PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                  IF ANY




                                                                     ACCOUNT NO.                                                        J                  Certificate of Judgment --Franklin County
                                                                                                                                                           Common Pleas Court -- 14 JG 010717
                                                                     Columbus City Division Of Income Tax                                                  Judgment --2013 CVI 023409 --Franklin
                                                                     77 N Front Street, 2nd Floor                                                          County Municipal Court
                                                                     Columbus, OH 43215
                                                                                                                                                           Certificate of Judgment --Franklin County
                                                                                                                                                           Common Pleas Court -- 13 JG 019877
                                                                                                                                                           Judgment --2012 CVI 011297 --Franklin                                                               3,000.00         3,000.00
                                                                                                                                                           County Municipal Court
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.
                                                                                                                                                           Certificate of Judgment --Franklin County
                                                                                                                                                           Common Pleas Court -- 09 JG 003045
                                                                                                                                                           Judgment --2008 CVI 036453 --Franklin
                                                                                                                                                           County Municipal Court



                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Columbus City Division Of Income Tax                                                  for:
                                                                     50 West Gay Street, 4th Floor                                                         Columbus City Division Of
                                                                     Columbus, OH 43215                                                                    Income Tax



                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Columbus City Attorney                                                                for:
                                                                     Rep For Columbus City Income Tax                                                      Columbus City Division Of
                                                                     77 North Front Street                                                                 Income Tax
                                                                     Columbus, OH 43215

                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     James Chapman                                                                         for:
                                                                     Rep For City Of Columbus Income Tax                                                   Columbus City Division Of
                                                                     750 Cross Pointe Rd, Suite S                                                          Income Tax
                                                                     Gahanna, OH 43230


                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Capital Recovery Systems                                                              for:
                                                                     Rep For Columbus City Attorney                                                        Columbus City Division Of
                                                                     750 Cross Pointe Road - Suite S                                                       Income Tax
                                                                     Columbus, OH 43230

                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                             Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                      (Totals of this page) $                                      3,000.00 $       3,000.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                    $                $
                                                                               Case
                                                                     B6E (Official      2:14-bk-58300
                                                                                   Form 6E) (04/13) - Cont.           Doc 1                                   Filed 11/26/14 Entered 11/26/14 14:37:22                                                                            Desc Main
                                                                                                                                                             Document      Page 27 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                                                                      Case No.
                                                                                                                                                    Debtor(s)                                                                                                                        (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                                  (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                                                                                  AMOUNT




                                                                                                                                                                                                                       CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                                                                                                                                               AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                    AMOUNT
                                                                                                                                                                    DATE CLAIM WAS INCURRED                                                                                    ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                   OF
                                                                                                                                                                  AND CONSIDERATION FOR CLAIM                                                                                     TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                    CLAIM
                                                                                                                                                                                                                                                                               PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                   IF ANY




                                                                                                                                                           delinquent income taxes
                                                                     ACCOUNT NO.
                                                                                                                                                           Certificate of Judgment --Franklin County
                                                                     Ohio Department Of Taxation                                                           Common Pleas Court -- 08 JG 036956
                                                                     PO Box 182402                                                                         Certificate of Judgment --Franklin County
                                                                     Columbus, OH 43218-2402                                                               Common Pleas Court --06 JG 004053
                                                                                                                                                           Certificate of Judgment --Franklin County
                                                                                                                                                           Common Pleas Court --06 JG 003627
                                                                                                                                                                                                                                                                4,500.00         4,500.00
                                                                                                                                                           Assignee or other notification
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.
                                                                     Ohio State Attorney General                                                           for:
                                                                     Rep For Ohio State Dept Of Taxation                                                   Ohio Department Of Taxation
                                                                     30 East Broad Street, 17th Floor
                                                                     Columbus, OH 43215

                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Ohio Department Of Taxation                                                           for:
                                                                     Attn. Bankruptcy Department                                                           Ohio Department Of Taxation
                                                                     P.O. Box 530
                                                                     Columbus, OH 43216-0530

                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Ohio State Department Of Taxation                                                     for:
                                                                     21st Floor                                                                            Ohio Department Of Taxation
                                                                     150 East Gay Street, 21st Floor
                                                                     Columbus, OH 43215

                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     James Petro -Roetzel & Andress LPA                                                    for:
                                                                     Rep For Ohio State Det Of Taxation                                                    Ohio Department Of Taxation
                                                                     155 E Broad Street, 12 Floor
                                                                     Columbus, OH 43215


                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Perez & Morris LLC                                                                    for:
                                                                     Rep For Ohio Department Of Taxation                                                   Ohio Department Of Taxation
                                                                     8000 Ravine's Edge Court Ste 300
                                                                     Columbus, OH 43235-5422


                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                              Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                       (Totals of this page) $                                      4,500.00 $       4,500.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                             7,500.00
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                     $     7,500.00 $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07)                     Doc 1         Filed 11/26/14 Entered 11/26/14 14:37:22                                                           Desc Main
                                                                                                                                     Document      Page 28 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                          Case No.
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.                                                                       J notice of BK filing
                                                                     Adriana Jiminez
                                                                     1865 Brickell Avenue
                                                                     Miami, FL 33129

                                                                                                                                                                                                                                                                                  unknown
                                                                     ACCOUNT NO.                                                                       J misc debt
                                                                     ADT
                                                                     PO Box 361477
                                                                     Columbus, OH 43236

                                                                                                                                                                                                                                                                                   1,519.12
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     ADT Security                                                                                         ADT
                                                                     1819 O'Brian Road
                                                                     Columbus, OH 43228



                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     ADT Security                                                                                         ADT
                                                                     PO Box 650485
                                                                     Dallas, TX 75265-0485


                                                                                                                                                                                                                                           Subtotal
                                                                          12 continuation sheets attached                                                                                                                      (Total of this page) $                              1,519.12
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 29 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Ameritech
                                                                     PO Box 15069
                                                                     471 E. Broad Street, 18th Floor
                                                                     Columbus, OH 43215
                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc. debt
                                                                     Ashro
                                                                     3650 Milwaukee Street
                                                                     Madison, WI 53714
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                   366.13
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Asset Care
                                                                     5100 Peachtree Industrial Blvd.
                                                                     Norcross, GA 30071

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     AT&T U Verse
                                                                     P.O. Box 5014
                                                                     Carol Stream, IL 60197

                                                                                                                                                                                                                                                                                   889.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     AT&T                                                                                               AT&T U Verse
                                                                     P.O. Box 6416
                                                                     Carol Stream, IL 60197-6416



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     AT&T Corporate                                                                                     AT&T U Verse
                                                                     208 South Akard Street
                                                                     Dallas, TX 75202



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     IC Systems                                                                                         AT&T U Verse
                                                                     Rep For AT&T
                                                                     444 Highway 96 East, PO Box 64437
                                                                     St Paul, MN 55164-0437

                                                                     Sheet no.       1 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              1,255.13
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 30 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Afni                                                                                               AT&T U Verse
                                                                     Rep For At&T
                                                                     404 Brock Drive
                                                                     Bloomington, IL 61701

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Beneficial Credit Services
                                                                     4264 Eastland Square Drive
                                                                     Columbus, OH 43232
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Benefical Ohio, Inc.                                                                               Beneficial Credit Services
                                                                     PO Box 8634
                                                                     961 Wiegel Ave.
                                                                     Elmhurst, IL 60126

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Capital Servicing Group
                                                                     15025 Glazier Ave Suite 202
                                                                     Apple Valley, MN 55124

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     CBCS
                                                                     PO Box 163250
                                                                     Columbus, OH 43216-3250

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J utility bill
                                                                     City Of Gastonia
                                                                     181 South Street
                                                                     Gastonia, NC 28052

                                                                                                                                                                                                                                                                                   203.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Online Information Svcs                                                                            City Of Gastonia
                                                                     Rep For City Of Gastonia
                                                                     PO Box 1489
                                                                     Winterville, NC 28590

                                                                     Sheet no.       2 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                203.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 31 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Columbia Gas Of Ohio
                                                                     PO Box 2318
                                                                     Columbus, OH 43216

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Columbia Gas                                                                                       Columbia Gas Of Ohio
                                                                     PO Box 9001947
                                                                     Louisville, KY 40290
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Columbia Gas Of Ohio                                                                               Columbia Gas Of Ohio
                                                                     Revenue Recovery
                                                                     200 Civic Center Drive 8th Floor
                                                                     Columbus, OH 43215

                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Columbus Metropolitan Library
                                                                     96 South Grant Ave.
                                                                     Columbus, OH 43215

                                                                                                                                                                                                                                                                                    45.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Unique National Collection                                                                         Columbus Metropolitan Library
                                                                     Rep For Columbus Metropolitan Library
                                                                     119 E Maple St
                                                                     Jeffersonville, IN 47130

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Columbus Mortgage Inc
                                                                     3050 East Main Street
                                                                     Columbus, OH 43209

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of bk filing
                                                                     Credit Management
                                                                     4200 International Pkwy
                                                                     Carrollton, TX 75007-1912

                                                                                                                                                                                                                                                                                unknown
                                                                     Sheet no.       3 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                 45.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 32 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Cybercollect Inc.
                                                                     2350 South Avenue
                                                                     La Crosse, WI 54601

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Dana & Pariser CO LPA
                                                                     150 E. Mound St, Ste 308
                                                                     Columbus, OH 43215
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Doctor's Anasthesia Services Of Columbus
                                                                     Po Box 713749
                                                                     Cincinnati, OH 45271-3749

                                                                                                                                                                                                                                                                                    55.67
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Key Bridge                                                                                         Doctor's Anasthesia Services Of Columbus
                                                                     Rep For Doctors Anesthesia Service
                                                                     2348 Baton Rouge
                                                                     Lima, OH 45805

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Dunmoor Homes
                                                                     5013 Pine Creek Drive
                                                                     Westerville, OH 43081

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Everville LLC
                                                                     5013 Pinecreek Drive
                                                                     Westerville, OH 43081

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Damon E. Wetterauer Jr.                                                                            Everville LLC
                                                                     Rep For Everville LLC
                                                                     PO Box 2596
                                                                     Westerville, OH 43086

                                                                     Sheet no.       4 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                 55.67
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                   Desc Main
                                                                                                                                    Document      Page 33 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                 Case No.
                                                                                                                             Debtor(s)                                                                                                         (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                              DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                        CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                               SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Evodi, LTD
                                                                     499 7th Avenue
                                                                     New York, NY 10018

                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Extra Space Storage
                                                                     2160 Innis Road
                                                                     Columbus, OH 43224
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Javitch, Block & Rathbone
                                                                     140 East Town Street - Suite 1250
                                                                     Columbus, OH 43215

                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Jefferson Capital
                                                                     PO Box 23051
                                                                     Columbus, GA 31902

                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     John Ross
                                                                     PO Box 544
                                                                     Hilliard, OH 43026

                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     JS & Associates Appraisal Services
                                                                     Bo Box 29637
                                                                     Columbus, OH 43229

                                                                                                                                                                                                                                                                         unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Law Offices Of MJ Hecker
                                                                     5889 S. Greenwood Plaza Blvd
                                                                     Englewood, CO 80111

                                                                                                                                                                                                                                                                         unknown
                                                                     Sheet no.       5 of      12 continuation sheets attached to                                                                                                 Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                       (Total of this page) $
                                                                                                                                                                                                                                     Total
                                                                                                                                                                        (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                            the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                         Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 34 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Lehman Brothers Holdings Inc
                                                                     1661 Worthington Road, #100
                                                                     West Palm Beach, FL 33409

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Laurito & Laurito                                                                                  Lehman Brothers Holdings Inc
                                                                     Rep For Lehman Brother Holding
                                                                     7550 Paragon Rd
                                                                     Dayton, OH 45459
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Linden Medical Center
                                                                     2339 Cleveland Avenue
                                                                     Columbus, OH 43211

                                                                                                                                                                                                                                                                                     7.86
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Marlin Medclear Inovision
                                                                     507 Prudential Road
                                                                     Horsham, PA 19044

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc. debt
                                                                     Meade & Associates
                                                                     737 Enterprise Dr
                                                                     Westerville, OH 43081

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Mid Ohio Digestive Disease Assoc.
                                                                     5969 E. Broad Street, Ste 300
                                                                     Columbus, OH 43213

                                                                                                                                                                                                                                                                                   186.59
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Mid Ohio Surgery Center LLLC
                                                                     99 North Brice Road, Ste 160
                                                                     Columbus, OH 43213-6517

                                                                                                                                                                                                                                                                                   150.92
                                                                     Sheet no.       6 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                345.37
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 35 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Midland Credit Management
                                                                     8875 Aero Dr, Ste 200
                                                                     San Diego, CA 92123

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Miraca Life Sciences
                                                                     PO Box 844117
                                                                     Dallas, TX 75284
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                    73.09
                                                                     ACCOUNT NO.                                                                     J misc. debt
                                                                     Montgomery Ward
                                                                     3650 Milwaukee Street
                                                                     Madison, WI 53714-2399

                                                                                                                                                                                                                                                                                   308.53
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     MRS Associates
                                                                     1930 Olney Ave.
                                                                     Cherry Hill, NJ 08003

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J student loan obligation
                                                                     Nelnet Loan Services
                                                                     Po Box 2877
                                                                     Omaha, NE 68103-2877

                                                                                                                                                                                                                                                                                30,000.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Department Of Education/Nelnet                                                                     Nelnet Loan Services
                                                                     3015 Parker Road, Suite 400
                                                                     Aurora, CO 80014



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Us Deparment Of Education                                                                          Nelnet Loan Services
                                                                     PO Box 5227
                                                                     Greenville, TX 75403


                                                                     Sheet no.       7 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             30,381.62
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 36 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Us Department Of Education                                                                         Nelnet Loan Services
                                                                     PO Box 530260
                                                                     Atlanta, GA 30353-0260



                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Northern Leasing
                                                                     132 W. 31st Street - 14th Floor
                                                                     New York, NY 10001
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Northern Pines MHP LLC
                                                                     PO Box 457
                                                                     Cedaredge, CO 81413

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Damon E. Wetterauer Jr.                                                                            Northern Pines MHP LLC
                                                                     Rep For Northern Pines MHP LLC
                                                                     PO Box 2596
                                                                     Westerville, OH 43086

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Ocwen
                                                                     PO Box 6440
                                                                     Carol Stream, IL 60197-6440

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Ocwen Loan Servicing                                                                               Ocwen
                                                                     PO Box 6440
                                                                     Carol Stream, IL 60197-6440



                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Ohio Health Sleep Services
                                                                     Po Box 73058
                                                                     Cleveland, OH 44193

                                                                                                                                                                                                                                                                                   150.92
                                                                     Sheet no.       8 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                150.92
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 37 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Computer Collection Corp.                                                                          Ohio Health Sleep Services
                                                                     Rep For Ohio Health Sleep Services
                                                                     PO Box 27161
                                                                     Columbus, OH 43227

                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Ohio State University Hospital
                                                                     Patient Financial Services
                                                                     PO Box 183102
                                                                     Columbus, OH 43218-3102
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                 1,734.40
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Ohio State University Wexner Med Center                                                            Ohio State University Hospital
                                                                     401 W. 10th Avenue
                                                                     Columbus, OH 43210



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Ohio State University Hospital                                                                     Ohio State University Hospital
                                                                     PO BOX 643684
                                                                     Pittsburgh, PA 15264-3684



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     United Collection Bureau                                                                           Ohio State University Hospital
                                                                     Rep For OSU Medical Center
                                                                     5620 Southwyck Blvd
                                                                     Toledo, OH 43614

                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Osu Neurological Surgery
                                                                     410 W 10th Ave
                                                                     Columbus, OH 43210

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     OSU Physicans, Inc.
                                                                     PO Box 740727
                                                                     Cincinnati, OH 45274

                                                                                                                                                                                                                                                                                   110.00
                                                                     Sheet no.       9 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              1,844.40
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 38 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     OSU Physicians                                                                                     OSU Physicans, Inc.
                                                                     700 Ackerman Road, Suite 600
                                                                     Columbus, OH 43202



                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Plains Commerce Bank
                                                                     5109 S Broadband Lane
                                                                     Sioux Falls, SD 57108
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                 2,969.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Plains Commerce Bank                                                                               Plains Commerce Bank
                                                                     PO Box 88020
                                                                     Sioux Falls, SD 57105



                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Resurgent Capital Services
                                                                     PO Box 10587
                                                                     Greenville, SC 32462

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Riverside Methodist Hospital
                                                                     PO Box 40019
                                                                     Phoenix, AZ 85067-0019

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Riverside Methodist Hospital                                                                       Riverside Methodist Hospital
                                                                     5350 Franz Road
                                                                     Dublin, OH 43016



                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     RJM ACQ LLC
                                                                     575 Underhill Blvd, STE 244
                                                                     Syosset, NY 11791

                                                                                                                                                                                                                                                                                unknown
                                                                     Sheet no.     10 of       12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              2,969.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 39 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Rossman & Co
                                                                     5500 New Albany Rd.
                                                                     New Albany, OH 43054

                                                                                                                                                                                                                                                                                unknown
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Sprint Nextel
                                                                     Attn. Bankruptcy Department
                                                                     P.O. Box 7949
                                                                     Overland Park, KS 66207-0949
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                   433.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Sprint                                                                                             Sprint Nextel
                                                                     PO Box 57547
                                                                     Jacksonville, FL 32241



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Sprint                                                                                             Sprint Nextel
                                                                     PO Box 88026
                                                                     Chicago, IL 60680-1206



                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Sunrays Cardiology Inc.
                                                                     PO Box 634610
                                                                     Cincinnati, OH 45263

                                                                                                                                                                                                                                                                                    75.44
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Sunrays Cardiology Inc.                                                                            Sunrays Cardiology Inc.
                                                                     1000 East Broad Street - 2nd Floor
                                                                     Columbus, OH 43205



                                                                     ACCOUNT NO.                                                                     J notice of BK filing
                                                                     Tina Roberts
                                                                     4390 Maize Road
                                                                     Columbus, OH 43224

                                                                                                                                                                                                                                                                                unknown
                                                                     Sheet no.     11 of       12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                508.44
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      2:14-bk-58300
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                                          Desc Main
                                                                                                                                    Document      Page 40 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Tina Roberts                                                                                       Tina Roberts
                                                                     3539 Ontario Street
                                                                     Columbus, OH 43224



                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Tribute
                                                                     PO Box 10534
                                                                     Atlanta, GA 30348
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                   351.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Tribute Mastercard                                                                                 Tribute
                                                                     PO Box 136
                                                                     Newark, NJ 07101



                                                                     ACCOUNT NO.                                                                     J
                                                                     Wiles, Boyle, Burkholder & Bringardner
                                                                     300 Spruce Street
                                                                     Columbus, OH 43215

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO.                                                                     J misc debt
                                                                     Wow Internet And Cable
                                                                     7887 E Belleview Ave, Ste 1000
                                                                     Englewood, CO 80111

                                                                                                                                                                                                                                                                                   213.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Wow Internet And Cable                                                                             Wow Internet And Cable
                                                                     Po Box 4350
                                                                     Carol Stream, IL 60197-4350



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     CMI                                                                                                Wow Internet And Cable
                                                                     Rep For Wow Internet & Cable
                                                                     4200 International Parkway
                                                                     Carrollton, TX 75007-1912

                                                                     Sheet no.     12 of       12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                564.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                             39,841.67
                                                                               Case
                                                                     B6G (Official Form 2:14-bk-58300
                                                                                        6G) (12/07)                      Doc 1         Filed 11/26/14 Entered 11/26/14 14:37:22                                         Desc Main
                                                                                                                                      Document      Page 41 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                       Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                               Case
                                                                     B6H (Official Form 2:14-bk-58300
                                                                                        6H) (12/07)                      Doc 1         Filed 11/26/14 Entered 11/26/14 14:37:22                                           Desc Main
                                                                                                                                      Document      Page 42 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                        Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                                       Case 2:14-bk-58300                Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                     Desc Main
                                                                                                                                     Document      Page 43 of 79
                                                                                   Jackson, James Eldridge Sr. & Jackson, Regina
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1           James
                                                                                         ___       Eldridge
                                                                                             ____ _____       Jackson
                                                                                                        _______ ____ _____Sr.
                                                                                                                          ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            Regina
                                                                                          ___        Jackson
                                                                                              ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for t he: Southern District of Ohio

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:            Describe Employment
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     1.    Fill in your employment
                                                                           information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional          Employment status                    Employed                                           Employed
                                                                            employers.                                                                 Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                  Occupation                     Scrap Metal Collector
                                                                                                                                                 __________________________________                Seamstress
                                                                                                                                                                                                   __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                  Employer’s name                Self Employed
                                                                                                                                                 __________________________________                Self-Employed
                                                                                                                                                                                                   __________________________________


                                                                                                                  Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                  How long employed there?            _______
                                                                                                                                                      30 years                                      _______
                                                                                                                                                                                                    20 years


                                                                      Part 2:            Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                   0.00
                                                                                                                                                                             $___________                     0.00
                                                                                                                                                                                                       $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.     + $___________
                                                                                                                                                                                   0.00            +          0.00
                                                                                                                                                                                                       $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                             $__________                      0.00
                                                                                                                                                                                                       $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                    Case 2:14-bk-58300                               Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                                             Desc Main
                                                                                                                                                    Document      Page 44 of 79
                                                                     Debtor 1             James
                                                                                         ___       Eldridge
                                                                                             _______ ____ _____Jackson    Sr.
                                                                                                               ______ _____ ____ _______ ____ _____ _____                                          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                                                                                                   $___________                      0.00
                                                                                                                                                                                                                              $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +          0.00
                                                                                                                                                                                                                             $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                       1,570.00
                                                                                                                                                                                                  $____________                    429.83
                                                                                                                                                                                                                             $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                                                                                                                                                                    0.00
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            8e. Social Security                                                                                            8e.         1,142.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                           0.00            + $_____________
                                                                                                                                                                                                                                    0.00
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          2,712.00
                                                                                                                                                                                                  $____________                    429.83
                                                                                                                                                                                                                             $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                      2,712.00
                                                                                                                                                                                                  $___________       +               429.83 = $_____________
                                                                                                                                                                                                                              $_____________       3,141.83

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        3,141.83
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                        Case 2:14-bk-58300                  Doc 1          Filed 11/26/14 Entered 11/26/14 14:37:22                                 Desc Main
                                                                                                                                          Document      Page 45 of 79
                                                                                     Jackson, James Eldridge Sr. & Jackson, Regina
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           James
                                                                                            ___ _______Eldridge   Jackson
                                                                                                       ____ _____ ____        Sr. ____ _______ _____ ____ _______ ____ _
                                                                                                                       _____ ______
                                                                                             First Name                 Middle Name                Last Name                       Check if this is:
                                                                          Debtor 2           Regina
                                                                                             ___        Jackson
                                                                                                 ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                                                                                                                                       An amended filing
                                                                          (Spouse, if filing) First Name                Middle Name                Last Name
                                                                                                                                                                                       A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: Southern District of Ohio                                          expenses as of the following date:
                                                                                                                                                                                       ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                       MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                       maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                     12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                  Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                       age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                            No
                                                                           Do not state the dependents’                                                         _________________________                ________
                                                                           names.                                                                                                                                           Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                    Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                       4.
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                           $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                              4a.            95.00
                                                                                                                                                                                                           $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                   4b.            130.00
                                                                                                                                                                                                           $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                  4c.            135.00
                                                                                                                                                                                                           $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                    4d.             0.00
                                                                                                                                                                                                           $_____________________

                                                                          Official Form 6J                                                 Schedule J: Your Expenses                                                           page 1
                                                                                      Case 2:14-bk-58300                   Doc 1          Filed 11/26/14 Entered 11/26/14 14:37:22                          Desc Main
                                                                                                                                         Document      Page 46 of 79
                                                                      Debtor 1            James
                                                                                          ___      Eldridge
                                                                                              _______ ____ _____Jackson    Sr.____ _______ ____ _____ _____
                                                                                                                 ______ _____                                        Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                            0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.            135.00
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.            95.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            126.83
                                                                                                                                                                                                    $_____________________

                                                                             6d.                     Natural Gas
                                                                                     Other. Specify: _______________________________________________                                        6d.            245.00
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.             575.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.             95.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            95.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.            155.00
                                                                                                                                                                                                    $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                           365.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                    $_____________________
                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.             0.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.             0.00
                                                                                                                                                                                                    $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.           210.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                           85.00
                                                                                                                                                                                                    $_____________________
                                                                                       Self-Employment Taxes For Self Employment
                                                                             Specify: ______________________________________
                                                                                                                           __________________                                               16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                    $_____________________



                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     695.00
                                                                                       Case 2:14-bk-58300                Doc 1           Filed 11/26/14 Entered 11/26/14 14:37:22                            Desc Main
                                                                                                                                        Document      Page 47 of 79
                                                                        Debtor 1          James
                                                                                         ___       Eldridge
                                                                                             _______ ____ _____Jackson    Sr.
                                                                                                               ______ _____ ____ _______ ____ _____ _____             Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name    Middle Name          Last Name




                                                                       21.     Other. Specify: _________________________________________________                                            21 .            0.00
                                                                                                                                                                                                   +$_____________________

                                                                       22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                          2,541.83
                                                                                                                                                                                                     $_____________________
                                                                              The result is your monthly expenses.                                                                          22 .




                                                                       23.   Calculate your monthly net income.
                                                                                                                                                                                                           3,141.83
                                                                                                                                                                                                      $_____________________
                                                                             23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                             23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                           2,541.83

                                                                             23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                             600.00
                                                                                                                                                                                                      $_____________________
                                                                                    The result is your monthly net income.                                                                 23c.




                                                                       24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                              For example, do you expect to finish paying for your car loan within the year or do you expect your
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                                 No.
                                                                                 Yes.    None




                                                                             Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
                                                                               Case
                                                                     B6 Declaration     2:14-bk-58300
                                                                                    (Official Form 6 - Declaration) Doc
                                                                                                                    (12/07)1        Filed 11/26/14 Entered 11/26/14 14:37:22                                           Desc Main
                                                                                                                                   Document      Page 48 of 79
                                                                     IN RE Jackson, James Eldridge Sr. & Jackson, Regina                                                                 Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      35 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: November 26, 2014                              Signature: /s/ James E Jackson, Sr.
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       James E Jackson, Sr.

                                                                     Date: November 26, 2014                              Signature: /s/ Regina Jackson
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Regina Jackson
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                Case 2:14-bk-58300
                                                                     B7 (Official Form 7) (04/13)
                                                                                                                    Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                                Desc Main
                                                                                                                               Document      Page 49 of 79
                                                                                                                              United States Bankruptcy Court
                                                                                                                                 Southern District of Ohio

                                                                     IN RE:                                                                                                       Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                                                Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                    0.00 Self-employment income:
                                                                                         YTD: $26,433.00
                                                                                         2013: $5,507.00
                                                                                         2012: $7,948.00
                                                                                         2011: $10,215.00

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                    0.00 Social Security:
                                                                                         YTD: $12,562.00
                                                                                         2013: $13,488.00
                                                                                         2012: $13,014.00
                                                                                Case 2:14-bk-58300                  Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                                Desc Main
                                                                                                                               Document      Page 50 of 79
                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY              STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                 DISPOSITION
                                                                     Franklin County Treasurer vs.              Foreclosure action                        Franklin County Common Pleas pending
                                                                     Regina Tate                                                                          Court
                                                                     Case #14 CV 005735
                                                                     Columbus City Division Income              Debt collection                           Franklin County Common Pleas Certificate of Judgment
                                                                     Tax vs. Regina Tate                                                                  Court
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)
                                                                                                                                                                          TERMS OF ASSIGNMENT
                                                                     NAME AND ADDRESS OF ASSIGNEE                                     DATE OF ASSIGNMENT                  OR SETTLEMENT
                                                                     Unknown Party                                                    August 2014                         1996 Chevrolet Suburban -- Sold for $2,000.00
                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                 Case 2:14-bk-58300                 Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                 Desc Main
                                                                                                                                Document      Page 51 of 79
                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Mark Albert Herder, LLC                                           24 October 2014                                                         90.00
                                                                     1031 East Broad Street
                                                                     Columbus, OH 43205
                                                                     Greenpath Inc.                                                    7 August 2014                                                                           50.00

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.
                                                                                Case 2:14-bk-58300                  Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                                Desc Main
                                                                                                                               Document      Page 52 of 79
                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                          of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                          preceding the commencement of this case.
                                                                                                                 LAST FOUR DIGITS
                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
                                                                     Regina's Boutique                                                      46 James Road                            Sewing and           1994-current
                                                                                                                                            Columbus, OH 43213-0000                  Alterations
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.
                                                                                Case 2:14-bk-58300                  Doc 1        Filed 11/26/14 Entered 11/26/14 14:37:22                                 Desc Main
                                                                                                                                Document      Page 53 of 79
                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                             and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                             the debtor within the two years immediately preceding the commencement of this case.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                             or holds 5 percent or more of the voting or equity securities of the corporation.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                             of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                             preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                             bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                             purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                             has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
                                                                              Case 2:14-bk-58300              Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                        Desc Main
                                                                                                                        Document      Page 54 of 79
                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: November 26, 2014                    Signature /s/ James E Jackson, Sr.
                                                                                                                of Debtor                                                                James E Jackson, Sr.

                                                                     Date: November 26, 2014                    Signature /s/ Regina Jackson
                                                                                                                of Joint Debtor                                                                Regina Jackson
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 55 of 79




              Adriana Jiminez
              1865 Brickell Avenue
              Miami, FL 33129


              ADT
              PO Box 361477
              Columbus, OH 43236


              ADT Security
              1819 O'Brian Road
              Columbus, OH 43228


              ADT Security
              PO Box 650485
              Dallas, TX 75265-0485


              Afni
              Rep For At&T
              404 Brock Drive
              Bloomington, IL        61701


              Ameritech
              PO Box 15069
              471 E. Broad Street, 18th Floor
              Columbus, OH 43215


              Ashro
              3650 Milwaukee Street
              Madison, WI 53714


              Asset Care
              5100 Peachtree Industrial Blvd.
              Norcross, GA 30071
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 56 of 79




              AT&T
              P.O. Box 6416
              Carol Stream, IL         60197-6416


              AT&T Corporate
              208 South Akard Street
              Dallas, TX 75202


              AT&T U Verse
              P.O. Box 5014
              Carol Stream, IL         60197


              Benefical Ohio, Inc.
              PO Box 8634
              961 Wiegel Ave.
              Elmhurst, IL 60126


              Beneficial Credit Services
              4264 Eastland Square Drive
              Columbus, OH 43232


              Cabrera Auto Sales
              3530 Sullivant Avenue
              Columbus, OH 43204


              Capital Recovery Systems
              Rep For Columbus City Attorney
              750 Cross Pointe Road - Suite S
              Columbus, OH 43230


              Capital Servicing Group
              15025 Glazier Ave Suite 202
              Apple Valley, MN 55124
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 57 of 79




              CBCS
              PO Box 163250
              Columbus, OH 43216-3250


              City Of Gastonia
              181 South Street
              Gastonia, NC 28052


              CMI
              Rep For Wow Internet & Cable
              4200 International Parkway
              Carrollton, TX 75007-1912


              Columbia Gas
              PO Box 9001947
              Louisville, KY        40290


              Columbia Gas Of Ohio
              Revenue Recovery
              200 Civic Center Drive 8th Floor
              Columbus, OH 43215


              Columbia Gas Of Ohio
              PO Box 2318
              Columbus, OH 43216


              Columbus City Attorney
              Rep For Columbus City Income Tax
              77 North Front Street
              Columbus, OH 43215


              Columbus City Division Of Income Tax
              77 N Front Street, 2nd Floor
              Columbus, OH 43215
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 58 of 79




              Columbus City Division Of Income Tax
              50 West Gay Street, 4th Floor
              Columbus, OH 43215


              Columbus Metropolitan Library
              96 South Grant Ave.
              Columbus, OH 43215


              Columbus Mortgage Inc
              3050 East Main Street
              Columbus, OH 43209


              Computer Collection Corp.
              Rep For Ohio Health Sleep Services
              PO Box 27161
              Columbus, OH 43227


              Credit Management
              4200 International Pkwy
              Carrollton, TX 75007-1912


              Cybercollect Inc.
              2350 South Avenue
              La Crosse, WI 54601


              Damon E. Wetterauer Jr.
              Rep For Northern Pines MHP LLC
              PO Box 2596
              Westerville, OH 43086


              Damon E. Wetterauer Jr.
              Rep For Everville LLC
              PO Box 2596
              Westerville, OH 43086
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 59 of 79




              Dana & Pariser
              Rep For Rader Car Company
              495 E Mound Street
              Columbus, OH 43215


              Dana & Pariser CO LPA
              150 E. Mound St, Ste 308
              Columbus, OH 43215


              Department Of Education/Nelnet
              3015 Parker Road, Suite 400
              Aurora, CO 80014


              Doctor's Anasthesia Services Of Columbus
              Po Box 713749
              Cincinnati, OH 45271-3749


              Dunmoor Homes
              5013 Pine Creek Drive
              Westerville, OH 43081


              Everville LLC
              5013 Pinecreek Drive
              Westerville, OH 43081


              Evodi, LTD
              499 7th Avenue
              New York, NY 10018


              Extra Space Storage
              2160 Innis Road
              Columbus, OH 43224
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 60 of 79




              Franklin County Treasurer
              Attn Kate Sewickley
              373 South High Street, 17th Floor
              Columbus, OH 43215-6306


              Franklin County Treasurer
              P.O. Box 742538
              Cincinnati, OH 45274-2538


              IC Systems
              Rep For AT&T
              444 Highway 96 East, PO Box 64437
              St Paul, MN 55164-0437


              James Chapman
              Rep For City Of Columbus Income Tax
              750 Cross Pointe Rd, Suite S
              Gahanna, OH 43230


              James Petro -Roetzel & Andress LPA
              Rep For Ohio State Det Of Taxation
              155 E Broad Street, 12 Floor
              Columbus, OH 43215


              Javitch, Block & Rathbone
              Rep For MRC Receivables Corp
              1100 Superior Avenue, 19th Floor
              Cleveland, OH 44114


              Javitch, Block & Rathbone
              Rep For MRC Receivables Corp
              140 East Town Street - Suite 1250
              Columbus, OH 43215


              Javitch, Block & Rathbone
              140 East Town Street - Suite 1250
              Columbus, OH 43215
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 61 of 79




              Jefferson Capital
              PO Box 23051
              Columbus, GA 31902


              Jennifer Franks
              Rep For US Bank/Real Time Resolutions
              1500 W Third Street, Suite 400
              Cleveland, OH 44113


              John Ross
              PO Box 544
              Hilliard, OH        43026


              JS & Associates Appraisal Services
              Bo Box 29637
              Columbus, OH 43229


              Key Bridge
              Rep For Doctors Anesthesia Service
              2348 Baton Rouge
              Lima, OH 45805


              Laurito & Laurito
              Rep For Lehman Brother Holding/Real Time
              7550 Paragon Rd
              Dayton, OH 45459


              Laurito & Laurito
              Rep For Lehman Brother Holding
              7550 Paragon Rd
              Dayton, OH 45459


              Law Offices Of MJ Hecker
              5889 S. Greenwood Plaza Blvd
              Englewood, CO 80111
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 62 of 79




              Lehman Brothers Holdings Inc
              1661 Worthington Road, #100
              West Palm Beach, FL 33409


              Lehman Brothers Holdings Inc
              C/O Ocwen Loan Servicing
              1661 Worthington Road, #100
              West Palm Beach, FL 33409


              Linden Medical Center
              2339 Cleveland Avenue
              Columbus, OH 43211


              Marlin Medclear Inovision
              507 Prudential Road
              Horsham, PA 19044


              Mary E. Johnson
              Rep For Franklin County Treasurer
              373 S. High Street, 17th Floor
              Columbus, OH 43215


              Meade & Associates
              737 Enterprise Dr
              Westerville, OH 43081


              Mid Ohio Digestive Disease Assoc.
              5969 E. Broad Street, Ste 300
              Columbus, OH 43213


              Mid Ohio Surgery Center LLLC
              99 North Brice Road, Ste 160
              Columbus, OH 43213-6517
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 63 of 79




              Midland Credit Management
              8875 Aero Dr, Ste 200
              San Diego, CA 92123


              Miraca Life Sciences
              PO Box 844117
              Dallas, TX 75284


              Montgomery Ward
              3650 Milwaukee Street
              Madison, WI 53714-2399


              MRC Receivables Corp
              5775 Roscoe Court
              San Diego, CA 92123-1356


              MRC Receivables Corp
              50 W Broad Street, Suite 1800
              Columbus, OH 43215


              MRS Associates
              1930 Olney Ave.
              Cherry Hill, NJ        08003


              Nelnet Loan Services
              Po Box 2877
              Omaha, NE 68103-2877


              Northern Leasing
              132 W. 31st Street - 14th Floor
              New York, NY 10001


              Northern Pines MHP LLC
              PO Box 457
              Cedaredge, CO 81413
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 64 of 79




              Ocwen
              PO Box 6440
              Carol Stream, IL         60197-6440


              Ocwen Loan Servicing
              PO Box 6440
              Carol Stream, IL 60197-6440


              Ohio Department Of Taxation
              PO Box 182402
              Columbus, OH 43218-2402


              Ohio Department Of Taxation
              Attn. Bankruptcy Department
              P.O. Box 530
              Columbus, OH 43216-0530


              Ohio Health Sleep Services
              Po Box 73058
              Cleveland, OH 44193


              Ohio State Attorney General
              Rep For Ohio State Dept Of Taxation
              30 East Broad Street, 17th Floor
              Columbus, OH 43215


              Ohio State Department Of Taxation
              21st Floor
              150 East Gay Street, 21st Floor
              Columbus, OH 43215


              Ohio State University Hospital
              Patient Financial Services
              PO Box 183102
              Columbus, OH 43218-3102
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 65 of 79




              Ohio State University Hospital
              PO BOX 643684
              Pittsburgh, PA 15264-3684


              Ohio State University Wexner Med Center
              401 W. 10th Avenue
              Columbus, OH 43210


              Online Information Svcs
              Rep For City Of Gastonia
              PO Box 1489
              Winterville, NC 28590


              Osu Neurological Surgery
              410 W 10th Ave
              Columbus, OH 43210


              OSU Physicans, Inc.
              PO Box 740727
              Cincinnati, OH 45274


              OSU Physicians
              700 Ackerman Road, Suite 600
              Columbus, OH 43202


              Perez & Morris LLC
              Rep For Ohio Department Of Taxation
              8000 Ravine's Edge Court Ste 300
              Columbus, OH 43235-5422


              Plains Commerce Bank
              PO Box 88020
              Sioux Falls, SD 57105
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 66 of 79




              Plains Commerce Bank
              5109 S Broadband Lane
              Sioux Falls, SD 57108


              Rader Car Company
              3115 Cleveland Ave.
              Columbus, OH 43224


              Real Time Resolutions
              P.O. Box 35888
              Dallas, TX 75235-1655


              Real Time Resolutions
              P.O. Box 731940
              Dallas, TX 75373


              Real Time Resolutions
              Dept. 107565
              PO Box 1259
              Oaks, TX 19456


              Real Time Resolutions
              1349 Empire Central Drive, Suite 150
              Dallas, TX 75247


              Reimer Arnovitz Chernek & Jeffrey
              Rep For US Bank
              30455 Solon Road
              Solon, OH 44139


              Resurgent Capital Services
              PO Box 10587
              Greenville, SC 32462
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 67 of 79




              Riverside Methodist Hospital
              5350 Franz Road
              Dublin, OH 43016


              Riverside Methodist Hospital
              PO Box 40019
              Phoenix, AZ 85067-0019


              RJM ACQ LLC
              575 Underhill Blvd, STE 244
              Syosset, NY 11791


              Robert Mann
              Rep For Rader Car Company
              800 E Braod Street
              Columbus, OH 43205


              Rossman & Co
              5500 New Albany Rd.
              New Albany, OH 43054


              Sprint
              PO Box 57547
              Jacksonville, FL         32241


              Sprint
              PO Box 88026
              Chicago, IL 60680-1206


              Sprint Nextel
              Attn. Bankruptcy Department
              P.O. Box 7949
              Overland Park, KS 66207-0949
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 68 of 79




              Sunrays Cardiology Inc.
              PO Box 634610
              Cincinnati, OH 45263


              Sunrays Cardiology Inc.
              1000 East Broad Street - 2nd Floor
              Columbus, OH 43205


              Tina Roberts
              3539 Ontario Street
              Columbus, OH 43224


              Tina Roberts
              4390 Maize Road
              Columbus, OH 43224


              Tribute
              PO Box 10534
              Atlanta, GA 30348


              Tribute Mastercard
              PO Box 136
              Newark, NJ 07101


              Unique National Collection
              Rep For Columbus Metropolitan Library
              119 E Maple St
              Jeffersonville, IN 47130


              United Collection Bureau
              Rep For OSU Medical Center
              5620 Southwyck Blvd
              Toledo, OH 43614
Case 2:14-bk-58300   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22   Desc Main
                             Document      Page 69 of 79




              US Bank
              Rep. Real Time Resolutions
              PO Box 790408
              St. Louis, MO 63179


              US Bank
              Rep. For Real Time Resolutions
              PO Box 5220
              Cincinnati, OH 45201


              US Bank
              Rep. For Real Time Resolutions
              PO Box 108
              Saint Paul, MN 63166


              Us Deparment Of Education
              PO Box 5227
              Greenville, TX 75403


              Us Department Of Education
              PO Box 530260
              Atlanta, GA 30353-0260


              Wiles, Boyle, Burkholder & Bringardner
              300 Spruce Street
              Columbus, OH 43215


              Wow Internet And Cable
              7887 E Belleview Ave, Ste 1000
              Englewood, CO 80111


              Wow Internet And Cable
              Po Box 4350
              Carol Stream, IL 60197-4350
                                                                              Case 2:14-bk-58300                   Doc 1    Filed 11/26/14 Entered 11/26/14 14:37:22                                Desc Main
                                                                                                                           Document      Page 70 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)                         According to the calculations required by this statement:
                                                                                                                                               The applicable commitment period is 3 years.
                                                                     In re: Jackson, James Eldridge Sr. & Jackson, Regina                      The applicable commitment period is 5 years.
                                                                                                      Debtor(s)
                                                                                                                                               Disposable income is determined under § 1325(b)(3).
                                                                     Case Number:
                                                                                                      (If known)                               Disposable income is not determined under § 1325(b)(3).
                                                                                                                                           (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                          CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                    AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
                                                                     Joint debtors may complete one statement only.


                                                                                                                           Part I. REPORT OF INCOME

                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                              b.    Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
                                                                        1
                                                                              All figures must reflect average monthly income received from all sources, derived during                      Column A                Column B
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              the six calendar months prior to filing the bankruptcy case, ending on the last day of the                     Debtor’s                Spouse’s
                                                                              month before the filing. If the amount of monthly income varied during the six months, you                      Income                  Income
                                                                              must divide the six-month total by six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $                       $
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line
                                                                              a and enter the difference in the appropriate column(s) of Line 3. If you operate more than
                                                                              one business, profession or farm, enter aggregate numbers and provide details on an
                                                                              attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                        3     expenses entered on Line b as a deduction in Part IV.
                                                                               a.    Gross receipts                                    $                                 1,124.83
                                                                               b.    Ordinary and necessary operating expenses         $                                   695.00
                                                                               c.    Business income                                   Subtract Line b from Line a                       $         429.83 $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the
                                                                              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                              not include any part of the operating expenses entered on Line b as a deduction in
                                                                              Part IV.
                                                                        4
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                        5     Interest, dividends, and royalties.                                                                        $                       $
                                                                        6     Pension and retirement income.                                                                             $                       $
                                                                              Any amounts paid by another person or entity, on a regular basis, for the household
                                                                              expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                        7     that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                              by the debtor’s spouse. Each regular payment should be reported in only one column; if a
                                                                              payment is listed in Column A, do not report that payment in Column B.                                     $       1,570.00 $
                                                                             Case 2:14-bk-58300             Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                       Desc Main
                                                                                                                      Document      Page 71 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                             However, if you contend that unemployment compensation received by you or your spouse
                                                                             was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                       8     Column A or B, but instead state the amount in the space below:
                                                                              Unemployment compensation
                                                                              claimed to be a benefit under the
                                                                              Social Security Act                     Debtor $                  Spouse $                    $                   $
                                                                             Income from all other sources. Specify source and amount. If necessary, list additional
                                                                             sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                             maintenance payments paid by your spouse, but include all other payments of alimony
                                                                             or separate maintenance. Do not include any benefits received under the Social Security
                                                                       9     Act or payments received as a victim of a war crime, crime against humanity, or as a victim
                                                                             of international or domestic terrorism.
                                                                              a.                                                                           $
                                                                              b.                                                                           $
                                                                                                                                                                            $                   $
                                                                             Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                       10
                                                                             through 9 in Column B. Enter the total(s).                                                    $     1,999.83 $
                                                                             Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       11    and enter the total. If Column B has not been completed, enter the amount from Line 10,
                                                                             Column A.                                                                                      $                       1,999.83

                                                                                               Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD

                                                                       12    Enter the amount from Line 11.                                                                                 $        1,999.83
                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                             that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                             your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on
                                                                             a regular basis for the household expenses of you or your dependents and specify, in the lines below, the
                                                                             basis for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of
                                                                             persons other than the debtor or the debtor’s dependents) and the amount of income devoted to each
                                                                             purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                       13
                                                                             adjustment do not apply, enter zero.
                                                                              a.                                                                                       $
                                                                              b.                                                                                       $
                                                                              c.                                                                                       $
                                                                              Total and enter on Line 13.                                                                                   $            0.00
                                                                       14    Subtract Line 13 from Line 12 and enter the result.                                                            $        1,999.83
                                                                             Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
                                                                       15
                                                                             12 and enter the result.                                                                                       $       23,997.96
                                                                             Applicable median family income. Enter the median family income for the applicable state and
                                                                             household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                       16    the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: Ohio                           b. Enter debtor’s household size:     2   $       53,551.00
                                                                             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                                                                                The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                       17       3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment
                                                                                period is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                   Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                             Case 2:14-bk-58300             Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                        Desc Main
                                                                                                                      Document      Page 72 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                       18    Enter the amount from Line 11.                                                                                 $    1,999.83
                                                                             Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the
                                                                             total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
                                                                             expenses of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the
                                                                             Column B income (such as payment of the spouse’s tax liability or the spouse’s support of persons other
                                                                             than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
                                                                             necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do
                                                                       19    not apply, enter zero.
                                                                              a.                                                                                         $
                                                                              b.                                                                                         $
                                                                              c.                                                                                         $
                                                                              Total and enter on Line 19.                                                                                   $        0.00
                                                                       20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                   $    1,999.83
                                                                             Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
                                                                       21
                                                                             12 and enter the result.                                                                                       $   23,997.96
                                                                       22    Applicable median family income. Enter the amount from Line 16.                                                $   53,551.00
                                                                             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                       23
                                                                                The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                                                                                determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
                                                                                complete Parts IV, V, or VI.

                                                                                         Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                             National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                             miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                             Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or
                                                                      24A
                                                                             from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
                                                                             currently be allowed as exemptions on your federal income tax return, plus the number of any additional
                                                                             dependents whom you support.                                                                                   $
                                                                             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                             persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                             years of age or older. (The applicable number of persons in each age category is the number in that
                                                                             category that would currently be allowed as exemptions on your federal income tax return, plus the number
                                                                             of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
                                                                      24B    persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                             persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
                                                                             amount, and enter the result in Line 24B.
                                                                              Persons under 65 years of age                           Persons 65 years of age or older
                                                                              a1.    Allowance per person                             a2.    Allowance per person
                                                                              b1.    Number of persons                                b2.    Number of persons
                                                                              c1.    Subtotal                                         c2.    Subtotal
                                                                                                                                                                                            $
                                                                             Case 2:14-bk-58300            Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                      Desc Main
                                                                                                                     Document      Page 73 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                             and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                      25A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.                                    $
                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                             the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.); enter on Line b the total of
                                                                             the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
                                                                      25B    from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                              a.   IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                              b.   Average Monthly Payment for any debts secured by your home, if
                                                                                   any, as stated in Line 47                                             $
                                                                              c.   Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                             and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                             Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             for your contention in the space below:

                                                                       26




                                                                                                                                                                                           $
                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                             an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                             and regardless of whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             expenses are included as a contribution to your household expenses in Line 7.
                                                                      27A      0     1      2 or more.
                                                                             If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                             Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                             Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                             Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                             of the bankruptcy court.)                                                                                     $
                                                                             Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                      27B    additional deduction for your public transportation expenses, enter on Line 27B the “Public
                                                                             Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                $
                                                                             Case 2:14-bk-58300             Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                        Desc Main
                                                                                                                      Document      Page 74 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                             which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                             than two vehicles.)
                                                                               1      2 or more.
                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                       28    the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47;
                                                                             subtract Line b from Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                              a.   IRS Transportation Standards, Ownership Costs                           $
                                                                                   Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                              b.   stated in Line 47                                                       $
                                                                              c.   Net ownership/lease expense for Vehicle 1                               Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 28.

                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                             the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47;
                                                                       29    subtract Line b from Line a and enter the result in Line 29. Do not enter an amount less than zero.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              a.   IRS Transportation Standards, Ownership Costs                           $
                                                                                   Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                              b.   stated in Line 47                                                       $
                                                                              c.   Net ownership/lease expense for Vehicle 2                               Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                       30    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                             taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $
                                                                             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                       31    deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                             and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                       32    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                             whole life or for any other form of insurance.                                                                   $
                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                       33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                             payments. Do not include payments on past due obligations included in Line 49.                                   $
                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                             child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                       34
                                                                             employment and for education that is required for a physically or mentally challenged dependent child for
                                                                             whom no public education providing similar services is available.                                                $
                                                                             Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                       35    on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                             payments.                                                                                                        $
                                                                             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                             expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                       36
                                                                             reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                             Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.             $
                                                                             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                             you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                       37    service—such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
                                                                             necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                             deducted.                                                                                                        $
                                                                             Case 2:14-bk-58300                Doc 1     Filed 11/26/14 Entered 11/26/14 14:37:22                     Desc Main
                                                                                                                        Document      Page 75 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                       38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                             $

                                                                                                             Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                         Note: Do not include any expenses that you have listed in Lines 24-37

                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                             expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                             spouse, or your dependents.
                                                                                 a.   Health Insurance                                             $
                                                                                 b.   Disability Insurance                                         $
                                                                       39        c.   Health Savings Account                                       $
                                                                             Total and enter on Line 39                                                                                      $
                                                                             If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                             the space below:

                                                                             $
                                                                             Continued contributions to the care of household or family members. Enter the total average actual
                                                                             monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                       40
                                                                             elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                             unable to pay for such expenses. Do not include payments listed in Line 34.                                     $
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                             you actually incur to maintain the safety of your family under the Family Violence Prevention and
                                                                       41
                                                                             Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                             confidential by the court.                                                                                      $
                                                                             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                             Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                       42
                                                                             provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                             that the additional amount claimed is reasonable and necessary.                                                 $
                                                                             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
                                                                             actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or
                                                                       43    secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                             trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                             is reasonable and necessary and not already accounted for in the IRS Standards.                       $
                                                                             Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                             clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                       44    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                             additional amount claimed is reasonable and necessary.                                                          $
                                                                             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                             charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                       45
                                                                             in 26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly
                                                                             income.                                                                                                         $
                                                                       46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                     $
                                                                             Case 2:14-bk-58300             Doc 1       Filed 11/26/14 Entered 11/26/14 14:37:22                        Desc Main
                                                                                                                       Document      Page 76 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                             you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                             Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                             the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                             page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                                                                             Average        Does payment
                                                                       47                                                                                    Monthly      include taxes or
                                                                                   Name of Creditor                  Property Securing the Debt              Payment           insurance?
                                                                              a.                                                                         $                      yes   no
                                                                              b.                                                                         $                      yes   no
                                                                              c.                                                                         $                      yes   no
                                                                                                                                          Total: Add lines a, b and c.                         $
                                                                             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                             residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                             you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                             creditor in addition to the payments listed in Line 47, in order to maintain possession of the property. The
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                             foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                             separate page.
                                                                       48                                                                                                    1/60th of the
                                                                                   Name of Creditor                            Property Securing the Debt                    Cure Amount
                                                                              a.                                                                                            $
                                                                              b.                                                                                            $
                                                                              c.                                                                                            $
                                                                                                                                                              Total: Add lines a, b and c.     $
                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                       49    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                             bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                          $
                                                                             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter
                                                                             the resulting administrative expense.
                                                                              a.   Projected average monthly Chapter 13 plan payment.                $
                                                                              b.   Current multiplier for your district as determined under
                                                                                   schedules issued by the Executive Office for United States
                                                                       50
                                                                                   Trustees. (This information is available at
                                                                                   www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                   court.)                                                           X
                                                                              c.   Average monthly administrative expense of Chapter 13              Total: Multiply Lines a
                                                                                   case                                                              and b
                                                                                                                                                                                               $
                                                                       51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                        $

                                                                                                                  Subpart D: Total Deductions from Income

                                                                       52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                     $
                                                                             Case 2:14-bk-58300              Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                                     Desc Main
                                                                                                                       Document      Page 77 of 79
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)

                                                                                         Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

                                                                       53    Total current monthly income. Enter the amount from Line 20.                                                                 $
                                                                             Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                       54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                             applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                              $
                                                                             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
                                                                       55    from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                             repayments of loans from retirement plans, as specified in § 362(b)(19).                                                     $
                                                                       56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                            $
                                                                             Deduction for special circumstances. If there are special circumstances that justify additional expenses
                                                                             for which there is no reasonable alternative, describe the special circumstances and the resulting expenses
                                                                             in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
                                                                             total in Line 57. You must provide your case trustee with documentation of these expenses and you must
                                                                             provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                             reasonable.
                                                                                                                                                                                            Amount of
                                                                       57
                                                                                   Nature of special circumstances                                                                            expense
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              a.                                                                                                        $
                                                                              b.                                                                                                        $
                                                                              c.                                                                                                        $
                                                                                                                                                              Total: Add Lines a, b, and c
                                                                                                                                                                                                          $
                                                                             Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
                                                                       58
                                                                             enter the result.                                                                                                            $
                                                                       59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                            $

                                                                                                              Part VI. ADDITIONAL EXPENSE CLAIMS

                                                                            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                            and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                            income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                            average monthly expense for each item. Total the expenses.
                                                                                   Expense Description                                                                                          Monthly Amount
                                                                      60
                                                                             a.                                                                                                             $
                                                                             b.                                                                                                             $
                                                                             c.                                                                                                             $
                                                                                                                                                Total: Add Lines a, b and c                 $


                                                                                                                         Part VII. VERIFICATION

                                                                            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                            both debtors must sign.)

                                                                      61    Date: November 26, 2014             Signature: /s/ James E Jackson, Sr.
                                                                                                                                                                     (Debtor)


                                                                            Date: November 26, 2014             Signature: /s/ Regina Jackson
                                                                                                                                                               (Joint Debtor, if any)
                                                                              Case 2:14-bk-58300            Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22              Desc Main
                                                                                                                      Document      Page 78 of 79
                                                                                                                     United States Bankruptcy Court
                                                                                                                        Southern District of Ohio

                                                                     IN RE:                                                                                Case No.
                                                                     Jackson, James Eldridge Sr. & Jackson, Regina                                         Chapter 13
                                                                                                              Debtor(s)

                                                                                                                BUSINESS INCOME AND EXPENSES
                                                                     FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                     operation.)

                                                                     PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                       1. Gross Income For 12 Months Prior to Filing:                                      $          32,340.00

                                                                     PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                       2. Gross Monthly Income:                                                                                   $      2,694.83

                                                                     PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                       3.   Net Employee Payroll (Other Than Debtor)                                       $
                                                                       4.   Payroll Taxes                                                                  $
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       5.   Unemployment Taxes                                                             $
                                                                       6.   Worker’s Compensation                                                          $
                                                                       7.   Other Taxes                                                                    $
                                                                       8.   Inventory Purchases (Including raw materials)                                  $
                                                                       9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                      10.   Rent (Other than debtor’s principal residence)                                 $            550.00
                                                                      11.   Utilities                                                                      $            120.00
                                                                      12.   Office Expenses and Supplies                                                   $             25.00
                                                                      13.   Repairs and Maintenance                                                        $
                                                                      14.   Vehicle Expenses                                                               $
                                                                      15.   Travel and Entertainment                                                       $
                                                                      16.   Equipment Rental and Leases                                                    $
                                                                      17.   Legal/Accounting/Other Professional Fees                                       $
                                                                      18.   Insurance                                                                      $
                                                                      19.   Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                      20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                            Business Debts (Specify):                                                      $




                                                                      21. Other (Specify):                                                                 $




                                                                      22. Total Monthly Expenses (Add items 3-21)                                                                 $       695.00

                                                                     PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                      23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                               $      1,999.83
        Case 2:14-bk-58300          Doc 1      Filed 11/26/14 Entered 11/26/14 14:37:22                 Desc Main
                                              Document      Page 79 of 79
                                              United States Bankruptcy Court
                                                 Southern District of Ohio

IN RE:                                                                                Case No.
Jackson, James E Sr. & Jackson, Regina                                                Chapter 13
                                       Debtor(s)

                                    STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LOCAL RULE 1015–2

Please check the appropriate box(es) with respect to each of the following items and state the required information in the
space below, adding an additional page if necessary:

If any previous bankruptcy case of any kind was filed in any court within the last eight (8) years by or against this debtor or
any entity related to the debtor as described below, or if the debtor or any entity related to the debtor as described below has
a pending bankruptcy case in any bankruptcy court regardless of when such case was filed, then set forth 1) the name of the
debtor, 2) case number, 3) date filed, 4) chapter filed under, 5) district and division where the case is or was pending, 6)
current status of the case, 7) whether a discharge was granted, denied, or revoked, 8) any real estate in the case and 9) judge
assigned to the case. If the prior case was a case under chapter 13 which was confirmed, paid out and discharged, and the
current case is a chapter 7 case, the debtor shall disclose the percentage paid to unsecured creditors in the chapter 13 case.

 X This debtor (identical individual, including DBAs, FDBAs)
  This debtor (identical business entity)
  Spouse of this debtor
  Former spouse of debtor
  Corporation/LLC if this debtor is or was a major shareholder/member of the corporation/LLC
  Major shareholder of this debtor (if this debtor is a corporation)
  Affiliate(s) of this debtor (see § 101(2) of the Code)
  Partnership, if this debtor is or was a general partner in the partnership
  General partner of this debtor (if this debtor is a partnership)
  General partner of this debtor (if this debtor is or was another general partner therewith)
  Entity with which this debtor has substantial identity of financial interests or assets
  Involuntary

Regina Tate -- Southern District of Ohio, Eastern Division -- Case #09-57713 --Chapter 13 -- Filed on 07/09/2009 --
Dismissed 08/20/2010 --Real estate: 614 Queens Rd., Gastonia, NC 28052 -- Real estate: 2833 Osceola Ave., Columbus,
OH 43211 -- Judge C. Kathryn Preston

I DECLARE, UNDER PENALTY OF PERJURY, THAT THE FOREGOING IS TRUE AND CORRECT.


Dated: 25 November 2014                            /s/ James E Jackson, Sr.
                                                   DEBTOR
                                                   /s/ Regina Jackson
                                                   JOINT DEBTOR
